Case 2:22-cv-00203-JRG-RSP                 Document 477            Filed 01/31/24         Page 1 of 2 PageID #:
                                                 35387



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF TEXAS
                                       MARSHALL DIVISION

     NETLIST, INC.,                                       §
                                                          §
                 Plaintiff,                               §
                                                          §
     v.                                                   §
                                                                     Case No. 2:22-cv-00203-JRG-RSP
                                                          §
     MICRON TECHNOLOGY, INC. et al.,                      §
                                                          §
                 Defendants.                              §
                                                          §

                                                      ORDER

          Micron     Semiconductor         Products     Inc,    Micron      Technology       Texas     LLC,      and

 Micron Technology, Inc. (collectively, "Micron") previously filed a Motion to Stay Pending

 Resolution of Inter Partes Review of the Asserted Patents (Dkt. No. 80). Magistrate Judge Payne

 entered a Report and Recommendation (Dkt. No. 416), recommending denial of Micron’s

 Motion to Stay. Micron has now filed Objections1 (Dkt. No. 417), with Netlist, Inc.

 ("Netlist") filing a Response (Dkt. No. 450).

          After conducting a de novo review of the briefing on the Motion to Stay, the Report and

 Recommendation, and the briefing on Micron’s Objections, the Court agrees with the reasoning

 provided within the Report and Recommendation and concludes that the Objections fail to show

 that the Report and Recommendation was erroneous. Consequently, the Court OVERRULES

 Micron’s Objections and ADOPTS the Report and Recommendation and orders that the Motion

 to Stay Pending Resolution of Inter Partes Review of the Asserted Patents (Dkt. No. 80)

 is DENIED.



 1
  Micron also filed a petition for writ of mandamus with the Federal Circuit, which the Federal Circuit denied. See
 Dkt. Nos. 418, 419; In re Micron, No. 24-107 (Fed. Cir. January 12, 2024).
Case 2:22-cv-00203-JRG-RSP    Document 477     Filed 01/31/24   Page 2 of 2 PageID #:
                                    35388




    So ORDERED and SIGNED this 31st day of January, 2024.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE
